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                   UNITED STATES COURT OF INTERNATIONAL TRADE

Before: The Honorable Gary S. Katzmann, Judge

                                                    )
 THE ANCIENTREE CABINET CO., LTD.
                                                    )
                                                    )
                       Plaintiff,
          v.                                        )     Court No. 20-00114
                                                    )
 UNITED STATES,                                     )
                                                    )
                       Defendant.                   )
                                                    )


          PLAINTIFF’S MOTION FOR JUDGMENT ON THE AGENCY RECORD

          Pursuant to Rule 56.2 of the Rules of the United States Court of International Trade

("USCIT R."), Plaintiff The Ancientree Cabinet Co., Ltd., respectfully move this Court for an

order granting movants judgment on the agency record against Defendant, the United States

(representing the U.S. Department of Commerce), including, but not limited to the following

relief:

          •    Declaring the Department’s selection of Romania as the primary surrogate country

               unsupported by substantial evidence; and

          •    Declaring that the Department’s choices of surrogate values for birch and poplar

               sawnwood were unsupported by substantial evidence; and

          •    Declaring that the Department’s choices of surrogate values for Ancientree’s

               particleboard, MDF, and paint inputs were unsupported by substantial evidence; and

          •    Declaring the Department’s financial ratio calculation was unsupported by substantial

               evidence and its change in methodology was arbitrary and capricious; and

          •    Ordering that if the Department calculates a de minimis margin, the Department must

               exclude Ancientree from the antidumping Order, and

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       •    Remanding to the Department to recalculate Plaintiffs’ margin in accordance with the

            law.


       WHEREFORE, for the reasons described in this Motion, Plaintiff respectfully requests

that this Court enter judgment in their favor. A proposed order is attached for the Court’s

consideration.



                                             Respectfully submitted,

                                             /s/ Gregory S. Menegaz
                                             Gregory S. Menegaz
                                             Alexandra H. Salzman
                                             J. Kevin Horgan
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Dated: September 11, 2020




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